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U.S. DISTRICT COURT

IN THE UNITED STATES DISTRIC COO LED OF TEXAS

 

 

 

 

 

 

FOR THE NORTHERN DISTRICT OF TEXAS
AMARILLO DIVISION
NOV - 4 2
UNITED STATES OF AMERICA §
§ CLFRKg U.S. DISTRICT COURT
Plaintiff, § Rv eer
§ OS Deputy
Vv. § 2:20-CR-14-Z-BR-(6)
§
BENJAMIN LLOYD FROST §
§
Defendant. §

ORDER ADOPTING REPORT AND RECOMMENDATION
CONCERNING PLEA OF GUILTY

On October 19, 2020, the United States Magistrate Judge issued a Report and
Recommendation Concerning Plea of Guilty (“Report and Recommendation”’) in the above referenced
cause. Defendant Benjamin Lloyd Frost filed no objections to the Report and Recommendation within
the fourteen-day period set forth in 28 U.S.C. § 636(b)(1). The Court independently examined all
relevant matters of record in the above referenced cause—including the elements of the offense,
Factual Resume, Plea Agreement, and Plea Agreement Supplement—and thereby determined that the
Report and Recommendation is correct. Therefore, the Report and Recommendation is hereby
ADOPTED by the United States District Court. Accordingly, the Court hereby FINDS that the guilty
plea of Defendant Benjamin Lloyd Frost was knowingly and voluntarily entered; ACCEPTS the guilty
plea of Defendant Benjamin Lloyd Frost; and ADJUDGES Defendant Benjamin Lloyd Frost guilty of
Count Ten in violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(A)(viii). Sentence will be imposed in

accordance with the Court’s sentencing scheduling order.

SO ORDERED, November q , 2020.

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MAYTHEW J. KACSMARYK
TED STATES DISTRICT JUDGE

 
